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                               Attorneys for Defendant
                        7      THE GOODYEAR TIRE & RUBBER
                               COMPANY
                        8
                        9                              UNITED STATES DISTRICT COURT
                     10                              CENTRAL DISTRICT OF CALIFORNIA
                     11
                     12        ARIN ESRAELIAN, as an individual,             Case No. 2:22-cv-00413-JFW-JPR
                               and on behalf of all similarly situated
                     13        employees,                                    DECLARATION OF LEAD TRIAL
                                                                             COUNSEL
                     14                        Plaintiff,
                     15              v.
                     16        THE GOODYEAR TIRE & RUBBER
                               COMPANY, and DOES 1-50, inclusive,
                     17
                                               Defendant.
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LITTLER MENDELSON, P.C.
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                       Case 2:22-cv-00413-JFW-JPR Document 14 Filed 01/28/22 Page 2 of 2 Page ID #:287



                        1                                       DECLARATION OF ALECIA WINFIELD
                        2               I, Alecia Winfield, hereby declare and state as follows:
                        3               1.        I am an attorney at law duly licensed to practice in the State of California
                        4      and the United States District Court for the Central District of California. I am a
                        5      shareholder with Littler Mendelson P.C., counsel of record for Defendant THE
                        6      GOODYEAR TIRE & RUBBER COMPANY (“Defendant”).                                 I have personal
                        7      knowledge of the following facts, and if called to testify, I could and would competently
                        8      testify thereto.
                        9               2.        I am serving as Lead Trial Counsel for Defendant in the above-referenced
                     10        matter.
                     11                 3.        I am registered as a “CM/ECF User” in the United States District Court for
                     12        the Central District of California.
                     13                 4.        My email address of record is AWinfield@littler.com.
                     14                 5.        I have read the Court’s Standing Order and Local Rules.
                     15                 I declare under penalty of perjury under the laws of the State of California and
                     16        the United States of America, that the foregoing is true and correct.
                     17                 Executed on January 28, 2022 at Los Angeles, California.
                     18
                     19
                     20        Dated:             January 28, 2022
                     21                                                            LITTLER MENDELSON, P.C.

                     22
                     23                                                            /s/Alecia W. Winfield
                                                                                   Alecia Whitaker Winfield
                     24                                                            Jamar D. Davis
                     25                                                            Attorneys for Defendant
                                                                                   THE GOODYEAR TIRE & RUBBER
                     26                                                            COMPANY
                     27        4871-5705-8827.1 / 056530-1322

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